            Case 22-41115            Doc 19 Filed 07/31/22 Entered 07/31/22 23:20:25                               Imaged
                                           Certificate of Notice Pg 1 of 5


                                     UNITED STATES BANKRUPTCY COURT
                                           Eastern District of Missouri
                                        Thomas F. Eagleton U.S. Courthouse
                                       111 South Tenth Street, Fourth Floor
                                               St. Louis, MO 63102


In re:                                                            Case No.: 22−41115 − A399
William Steiert Chase                                             Chapter: 7
Debtor(s)



                                            DISCHARGE OF DEBTOR(S)


It appearing that the debtor(s) is/are entitled to a discharge,
IT IS ORDERED THAT:
The debtor(s) is/are granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).

The holder of any claim for unpaid pre−petition child support is entitled to have the Trustee provide such creditor
with notice of the creditor's right to use the services of the state child support enforcement agency and supply such
creditor with the address and telephone number of the state child support enforcement agency and an explanation of
the creditor's rights to payment in the bankruptcy case. Any creditor may request such notice and information by
writing the Trustee. Such creditor is further entitled to have the Trustee provide the creditor with (i) notice of the
granting of the discharge, (ii) any last known address of the debtor, (iii) the debtor's most recent employer, and (iv)
information concerning other claims on which the debtor may be liable following the discharge. Failure to request
such information from the Trustee shall be a waiver of the right to receive such notice from the Trustee.


                                                                                                   BY THE COURT



                                                                                              U. S. Bankruptcy Judge



Dated: 7/28/22
St. Louis, Missouri
Rev. 12/17 3180




                      SEE PAGE 2 OF THIS ORDER FOR IMPORTANT INFORMATION.
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                                EXPLANATION OF BANKRUPTCY DISCHARGE
                                         IN A CHAPTER 7 CASE

      This court order is not a dismissal of the case and it does not determine how much money, if any, the trustee
will pay to creditors.
Collection of Discharged Debts Prohibited
      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtors. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtors' property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. This
discharge does not stop creditors from collecting from anyone else who is also liable on the debt, such as an insurance
company or a person who cosigned or guaranteed a loan. Also, a debtor may voluntarily pay any debt that has been
discharged.
Debts That are Discharged
       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

     Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

     a. Debts for most taxes;

     b. Debts incurred to pay nondischargeable taxes applicable only to cases filed after October 17, 2005;

     c. Debts that are domestic support obligations applicable only to cases filed after October 17, 2005;

     d. Debts for most student loans;

     e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

     f. Debts for most personal injuries or death caused by the debtor's operation of a motor vehicle while
     intoxicated;

     g. Some debts which were not properly listed by the debtors in time to permit the creditor to file a proof of
     claim, if required, or file a timely request to determine dischargeability;

     h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
     discharged;
     i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
     compliance with the Bankruptcy Code requirements for reaffirmation of debts.

     j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
     Plan for federal employees for certain types of loans from these plans applicable only to cases filed after
     October 17, 2005.


       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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                                                              United States Bankruptcy Court
                                                               Eastern District of Missouri
In re:                                                                                                                 Case No. 22-41115-bss
William Steiert Chase                                                                                                  Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0865-4                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jul 29, 2022                                               Form ID: 3180                                                             Total Noticed: 44
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 31, 2022:
Recip ID                 Recipient Name and Address
db                     + William Steiert Chase, 1906 Fairgrounds Rd, St Charles, MO 63303-4017
25196790                 BJC Health Care, P.O. Box 653060, Dallas, TX 75265-3060
25196791                 Byrum Healthcare, P.O. Box 277596, Atlanta, GA 30384-7586
25196786                 Driver License Bureau, 301 W High Street, Room 470, Saint Louis, MO 63105
25196799               + Healogics, P.O. Box 645750, Cincinnati, OH 45264-5750
25196801               + Little Lake Lending, 2770 Mission Rancheria Rd, Lakeport, CA 95453-9612
25196804                 Mercy, P.O. Box 505557, St Louis, MO 63150-5557
25216145               + Publishers Clearing House, Customer Service, 101 Winners Circle, Jericho NY 11753-2714
25196787               + Region 7 Coordinator, Office of Regional, U.S. Environmental Protection Agency, 901 N 5th Street, Kansas City, KS 66101-2798
25216146               + SSM St. Joseph Hospital, 300 Medical Plaza Dr., Lake Saint Louis MO 63367-1481
25216148                 St. Charles County Ambulance District, 200 Salt River Rd., Saint Peters, MO 63376
25196808               + Tower Loan, 2370 Hwy 94 South Outer Road, St Charles, MO 63303-8301
25196780               + US Attorney - Eastern District of MO, Thomas Eagleton U.S. Courthouse, 111 S. 10th Street, 20th Floor, Saint Louis, MO 63102-1128
25196813               + Zenresolve LLC, 2770 Mission Rancheria Rd, #315, Lakeport, CA 95453-9612

TOTAL: 14

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
25196788               + EDI: ACECASHXPRESS.COM
                                                                                        Jul 30 2022 03:03:00      Ace Cash Express, 601 1st Capital Dr., St. Charles,
                                                                                                                  MO 63301-2727
25196789               + Email/Text: Support@adastrarecoveryservicesinc.com
                                                                                        Jul 29 2022 23:02:00      Ad Astra Recovery, 7330 West 33rd Street North,
                                                                                                                  Suite 118, Wichita, KS 67205-9370
25216151               + EDI: URSI.COM
                                                                                        Jul 30 2022 03:03:00      Alltran Financial, LP, 5800 North Course Dr,
                                                                                                                  Houston, TX 77072-1613
25196792               + EDI: CAPITALONE.COM
                                                                                        Jul 30 2022 03:03:00      Capital One, Attn: Bankruptcy, P.O. Box 30285,
                                                                                                                  Salt Lake City, UT 84130-0285
25196793               + EDI: CAPITALONE.COM
                                                                                        Jul 30 2022 03:03:00      Capital One, Po Box 31293, Salt Lake City, UT
                                                                                                                  84131-0293
25214814                  EDI: CAPITALONE.COM
                                                                                        Jul 30 2022 03:03:00      Capital One Bank (USA), N.A., by American
                                                                                                                  InfoSource as agent, PO Box 71083, Charlotte, NC
                                                                                                                  28272-1083
25196795               + EDI: CITICORP.COM
                                                                                        Jul 30 2022 03:03:00      Citibank, Attn: Bankruptcy, P.O. Box 790034, St
                                                                                                                  Louis, MO 63179-0034
25196796               ^ MEBN
                                                                                        Jul 29 2022 23:01:47      Credit Ninja, 27 North Wacker Drive, Suit 404,
                                                                                                                  Chicago, IL 60606-2800
25196785               ^ MEBN
                                                                                        Jul 29 2022 23:01:51      Equifax, 1550 Peachtree St NW, Atlanta, GA
                                                                                                                  30309-2468
25196783               ^ MEBN
                                                                                        Jul 29 2022 23:01:44      Experian, 475 Anton Blvd., Costa Mesa, CA
                                                                                                                  92626-7037
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Date Rcvd: Jul 29, 2022                                             Form ID: 3180                                                       Total Noticed: 44
25196798              + EDI: AMINFOFP.COM
                                                                                   Jul 30 2022 03:03:00     First Premier Bank, Attn: Bankruptcy, P.O. Box
                                                                                                            5524, Sioux Falls, SD 57117-5524
25196779                 EDI: IRS.COM
                                                                                   Jul 30 2022 03:03:00     Internal Revenue Service, Centralized Insolvency
                                                                                                            Operation, P.O. Box 7346, Philadelphia, PA
                                                                                                            19101-7346
25196797                 Email/Text: Bankruptcy@joracredit.com
                                                                                   Jul 29 2022 23:02:29     Echo Credit, 7701 Las Colinas Ridge, Suite 650,
                                                                                                            Irving, TX 75063
25196794                 EDI: JPMORGANCHASE
                                                                                   Jul 30 2022 03:03:00     Chase Card Services, Attn: Bankruptcy, P.O.
                                                                                                            15298, Wilmington, DE 19850
25196800              + Email/Text: mail@ldf-holdings.com
                                                                                   Jul 29 2022 23:02:00     Lendumo, P.O. Box 542, Lac du Flambeau, WI
                                                                                                            54538-0542
25196802              + Email/Text: mail@ldf-holdings.com
                                                                                   Jul 29 2022 23:02:00     Makwa Finance, P.O. Box 343, Lac du Flambeau,
                                                                                                            WI 54538-0343
25196803              + Email/Text: bankruptcy@marinerfinance.com
                                                                                   Jul 29 2022 23:02:00     Mariner Finance, LLC, Attn: Bankruptcy, 8211
                                                                                                            Town Center Drive, Nottingham, MD 21236-5904
25196782              + Email/Text: ecfnotices@dor.mo.gov
                                                                                   Jul 29 2022 23:02:00     Missouri Department of Revenue, Collection
                                                                                                            Enforcement, Taxation Division, P.O. Box 854,
                                                                                                            Jefferson City, MO 65105-0001
25196805              ^ MEBN
                                                                                   Jul 29 2022 23:01:48     Mobiloans, LLC, Attn: Bankruptcy, P.O. Box
                                                                                                            1409, Marksville, LA 71351-1409
25196806              ^ MEBN
                                                                                   Jul 29 2022 23:01:48     Mobiloans, LLC, Po Box 1409, Marksville, LA
                                                                                                            71351-1409
25216150              + Email/Text: compliance@monarchrm.com
                                                                                   Jul 29 2022 23:02:00     Monarch Recovery Mgmt, 3260 Tillman Drive,
                                                                                                            Ste. 75, Bensalem, PA 19020-2059
25196781              + Email/Text: ustpregion13.sl.ecf@usdoj.gov
                                                                                   Jul 29 2022 23:02:00     Office of The United States Trustee, Thomas
                                                                                                            Eagleton U.S. Courthouse, 111 S. 10th Street, 6th
                                                                                                            Floor, Saint Louis, MO 63102-1125
25196807                 Email/Text: banko@preferredcredit.com
                                                                                   Jul 29 2022 23:02:00     Preferred Credit, 628 Roosevelt Road, St Cloud,
                                                                                                            MN 56301
25216147                 Email/Text: skitchen@sccad.com
                                                                                   Jul 29 2022 23:02:00     St. Charles County Ambulance District, 4169 Old
                                                                                                            Mill Pkwy, Saint Peters MO 63376
25196809                 Email/Text: bankruptcy@towerloan.com
                                                                                   Jul 29 2022 23:02:00     Tower Loan, Attn: Bankruptcy, P.O. Box 320001,
                                                                                                            Flowood, MS 39232
25196784              ^ MEBN
                                                                                   Jul 29 2022 23:01:41     TransUnion, PO Box 2000, Crum Lynne, PA
                                                                                                            19022
25216149                 EDI: USBANKARS.COM
                                                                                   Jul 30 2022 03:03:00     US Bank, PO Box 1800, Saint Paul MN
                                                                                                            55101-0000
25196810              + EDI: USBANKARS.COM
                                                                                   Jul 30 2022 03:03:00     US Bank/RMS, Attn: Bankruptcy, P.O. Box 5229,
                                                                                                            Cincinnati, OH 45201-5229
25196811              + EDI: USAA.COM
                                                                                   Jul 30 2022 03:03:00     USAA, 9800 Fredericksburg Rd, San Antonio, TX
                                                                                                            78288-0002
25196812              + EDI: USAA.COM
                                                                                   Jul 30 2022 03:03:00     USAA Federal Savings Bank, Attn: Bankruptcy,
                                                                                                            10750 Mcdermott Freeway, San Antonio, TX
                                                                                                            78288-1600

TOTAL: 30


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
25216144        *             BJC Health Care, P.O. Box 653060, Dallas TX 75265-3060
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District/off: 0865-4                                               User: admin                                                           Page 3 of 3
Date Rcvd: Jul 29, 2022                                            Form ID: 3180                                                       Total Noticed: 44
TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 31, 2022                                        Signature:          /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 28, 2022 at the address(es) listed below:
Name                             Email Address
Brian James LaFlamme
                                 on behalf of Trustee David A. Sosne blaflamme@summerscomptonwells.com

David A. Sosne
                                 on behalf of Trustee David A. Sosne dastrustee@summerscomptonwells.com dsosne@ecf.axosfs.com

David A. Sosne
                                 dastrustee@summerscomptonwells.com dsosne@ecf.axosfs.com

Jack Justin Adams
                                 on behalf of Debtor William Steiert Chase contact@thinkadamslaw.com
                                 Adriana@thinkadamslaw.com,ryan@thinkadamslaw.com;jackr74334@notify.bestcase.com;sarah@thinkadamslaw.com

Office of US Trustee
                                 USTPRegion13.SL.ECF@USDOJ.gov


TOTAL: 5
